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            Exhibit 18
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    Salchicha Ranchera Tradicional
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    97 % Smoked Ham

    $21.00
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    Meat
    Chorizo Antioqueño

    $36.00
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